/Hladik, Onorato
& Federman, LLP

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E ROPF LAW GROUP
Stephen M. Hladik 0 Athena J. Aitas O
David C. Onorato * lan Redmond
Thomas M. Federman + David Milstein

April 4, 2025

Re: James M. McArdle (P82443)

To Whom It May Concern:

James M. McArdle (P82443), is no longer with Hladik, Onorato & Federman, LLP. Please reassign all the cases
on the system assigned to James M. McArdle for Hladik, Onorato & Federman, LLP from August 1, 2023 to
David Milstein (P56543).

Please don’t hesitate to contact David Milstein at (248) 362-2600 or dmilstein@hoflawgroup.com if you have any
questions or concerns.

Thank you,

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